Case 2:Ol-cV-02149-STA-egb Document 66 Filed 05/25/05 Page 1 of 2 Page|D 88

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
CEDRIC ARNETT, et al., )
Plaintiffs, l
v. § NO. 01-2149 D/An
DOMINO’S PIZZA, LLC dib/a §
DOMINO’S PIZZA, et al., )
Defeodants. §

 

ORDER

 

Before the Court is Plaintiffs’ Motion to Extend All Deadlines and to Join in Dornino’s
Pizza LLC’s Emergency Motion to Set Rule 16Cb) Schedulingr Conference filed on March 24,
2005. United States District Judge Bernice B. Donald referred this matter to the Magistrate
Judge for determination and to conduct a scheduling conference

lt is therefore ORDERED that the parties shall appear for a scheduling conference to be
held before United States Magistrate Judge S. Thomas Anderson on WEDNESDAY, JUNE I,
2005 at 10:30 A.M. in Courtroom M~3, 9th Flocr, Federal Building, Memphis, Tennessee.
Counsel shall confer and submit a proposed Scheduling Order to the undersigned’s chambers at
least 24 hours before the conference

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: ; " {:/1*? 2$: 2003/

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Kathleen L. CaldWell

LAW OFFICE OF KATHLEEN L. CALDWELL

2080 Peabody Ave.
l\/lemphis7 TN 3 8104

J im N. Raines

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Gregory D. Cotton
COTTON LAW FIRM
6263 Poplar Avenue
Ste. 1032

l\/lemphis7 TN 38119

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

l\/lemphis7 TN 38137

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

l\/lemphis7 TN 38137

Jonathan C. Hancock
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

